         Case 1:18-cr-00058-JNP Document 14 Filed 07/10/18 Page 1 of 2




JOHN W. HUBER, United States Attorney (#7226)
ISAAC C. WORKMAN, Assistant United States Attorney (#14031)
BRANDEN B. MILES, Special, Assistant United States Attorney (9777#)
Attorneys for the United States of America
111 South Main Street, Suite. 1800 • Salt Lake City, Utah 84111
Telephone: (801) 524-5682


                    IN THE UNITED STATES DISTRICT COURT

                    DISTRICT OF UTAH, NORTHERN DIVISION


UNITED STATES OF AMERICA,                   :            Case No. 1:18-CR-00058

                     Plaintiff,             :
                                                      NOTICE OF SENTENCING
       vs.                                  :        ENHANCEMENT PURSUANT
                                                       TO 21 U.S.C. ' 851(a)(1)
TIMOTHY WILLIAM SHELTON,                    :

                     Defendant.             :                Judge Jill Parrish



       The United States of America, by and through the undersigned Assistant United

States Attorney, files this Information pursuant to 21 U.S.C. ' 851(a)(1), notifying

defendant TIMOTHY WILLIAM SHELTON, that he may be subject to increased

punishment as a result of the following prior felony convictions:

•      Possession with Intent to Distribute, 3rd Degree Felony, 2nd District Court-Ogden,
       Utah, Case No. 131901090, 2013.

•      Possession with Intent to Distribute, 2nd Degree Felony, 2nd District Court, Ogden,
       Utah, Case No. 061903400, 2006

•      Illegal Possession/Use of Controlled Substance, 3rd Degree Felony, 2nd District
       Court, Ogden, Utah, Case No. 021905107, 2003
      Case 1:18-cr-00058-JNP Document 14 Filed 07/10/18 Page 2 of 2




•   Illegal Possession/Use of Controlled Substance, 3rd Degree Felony, 2nd District
    Court-Ogden, Utah, Case No. 021905669, 2003


          DATED July 10, 2018.


                               JOHN W. HUBER
                               United States Attorney

                               /s/ Isaac C. Workman

                               ISAAC C. WORKMAN
                               Assistant United States Attorney




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